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                       Exhibit 3
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                       1633 BROADWAY                         ATLANTA
                                                            HOUSTON
                   NEW YORK, NEW YORK 10019               LOS ANGELES
                                                              MIAMI
                        (212) 506-1700
                                                             NEWARK
                      FAX: (212) 506-1800                SAN FRANCISCO
                                                         SILICON VALLEY
                                                         WASHINGTON DC
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